      Case 5:24-cv-00359-TES-CHW           Document 14        Filed 02/24/25     Page 1 of 1




                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF GEORGIA
                                      MACON DIVISION

 DANNY BENNETT,                                      *

                        Plaintiff,                   *
 v.                                                      Case No. 5:24-cv-00359-TES-CHW
                                                     *
 UNKNOWN ,
                                                     *
                   Defendant.
 ___________________________________                 *


                                        JUDGMENT

        Pursuant to this Court’s Order dated February 24, 2025, and for the reasons stated therein,

JUDGMENT is hereby entered dismissing this case. Plaintiff shall recover nothing of Defendant.

        This 24th day of February, 2025.

                                             David W. Bunt, Clerk


                                             s/ Raven K. Alston, Deputy Clerk
